as

Case 25-32541 Document 12 Filed in TXSB on 05/23/25 Page 1 of 6

G,
Neate
O, %
IN THE UNITED STATES BANKRUPTCY COURT hy, Wee,
FOR THE SOUTHERN DISTRICT OF TEXAS gy,“ So oar
- %
IN RE: § %, <B>
§ Case No. 25-32541 *O%
NATHAN JOSEPH MILLIRON § (Chapter 13) to
Debtor § G

MOTION FOR EXTENSION OF TIME TO FILE
LIST OF CREDITORS, PLAN, SCHEDULES AND STATEMENTS

TO THE HONORABLE MARVIN ISGUR:
*---- -COMES-NOW, Nathan J.-Milliron, Debtor,-in the above-referenced bankruptcy case.
(1) Milliron filed for Chapter 13 bankruptcy protection on May 6, 2025. At the time
of the bankruptcy filing, the following documents were not filed:
a. Form 106A/B, Schedule A/B (Property);
b. Form 106C, Schedule C (The Property You Claim as Exempt);
c. Form 106D, Schedule D (Creditors Who Have Claims Secured by Property);
d. Form 106E/F, Schedule E/F (Creditors Who Have Unsecured Claims);
e. Form 1066, Schedule G (Executory Contracts and Unexpired Leases);
f. Form 106H, Schedule H (Your Codebtors);
g. Form 106I, Schedule I (Your Income);
Wy we orn omenrces ne Born 106); Schedule-J-€Your-Expenses); -- 0% see ee
i. Form 107, Statement of Financial Affairs for Individuals Filing for Bankruptcy;

j. Form 122A-1, B or C-1, Statement of Current Monthly Income and Calculation
of Commitment Period and Disposable Income; and

k. Copies of payment advices or other evidence of payment received within 60

days before the date of the filing of the petition, by the debtor(s) from any
employer of the debtor(s).

Motion for Extension of Time — Page |
Case 25-32541 Document 12 Filed in TXSB on 05/23/25 Page 2 of 6

(2) The deadline to file these schedules and the proposed plan is May 20, 2025,
fourteen (14) days after the filing of the bankruptcy petition.

(3) Milliron is diligently working to compile the information and documentation to
provide accurate and complete information to the court and adequately complete the required
schedules and the proposed plan; however, the timely completion of these schedules and the
proposed plan has been complicated by the happenings of life.

(4) Shortly after the filing of this bankruptcy action, Milliron’s grandfather passed —
away in the State of Pennsylvania. Milliron’s grandfather died on May 9, 2025 and his services
were ultimately held in Pennsylvania on May 13, 2025. Unfortunately, Milliron’s ability to fully
complete the schedules and the proposed plan was delayed by this death and the related family and
funeral obligations.

(5) Milliron respectfully requests that the Court grant a brief extension of time for him
to complete the schedules and the proposed plan, extending the current May 20, 2025 deadline, for
a minimum period of seven (7) days, to May 27, 2025.

WHEREFORE, Milliron respectfully requests that the Court grant a brief extension of time
for him to complete the schedules and the proposed plan, extending the current May 20, 2025

deadline, for a minimum period of seven (7) days, to May 27, 2025.

P.O. 880
Houston, Texas 77288-0074
(832) 654-8896 (Telephone)

nathan.j.milliron@gmail.com (E-mail)

DEBTOR

Motion for Extension of Time — Page 2
Case 25-32541 Document 12 Filed in TXSB on 05/23/25 Page 3 of 6

CERTIFICATE OF SERVICE

I hereby certify that the foregoing Motion for Extension of Time to File List of Creditors,
Plan, Schedules and Statements was circulated to the following, as required by the Federal Rules
of Civil Procedure and applicable Bankruptcy Rules, on this the 20" day of May 2025:

Via First Class U.S. Mail and

Via Certified Mail/Return Receipt Requested
No. 9589 0710 5270 1031 0558 82

Mr. David G. Peake

Chapter 13 Trustee

9660 Hillcroft, Suite 430

Houston, Texas 77096

Via First Class U.S. Mail and

Via Certified Mail/Return Receipt Requested
No. 9589 0710 5270 1031 0558 99

Office of the United States Trustee

515 Rusk Street, Suite 3516

Houston, Texas 77002

\

Nath

Motion for Extension of Time — Page 3

Case 25-32541 Document 12 Filed in TXSB on 05/23/25 Page 4 of 6

UNSWORN VERIFICATION OF NATHAN J. MILLIRON

I, Nathan J. Milliron, have reviewed the above and foregoing Motion for Extension of Time
to File List of Creditors, Plan, Schedules and Statements and I can confirm that the statements
included in the Motion are within my personal knowledge and are true and correct.

My name is Nathan J. Milliron, my date of birth is January 16, 1979, and my mailing

address is P.O. Box 88074, Houston, Texas 77288-0074. I declare under penalty of perjury the
foregoing is true and correct.

0" day of May, 2025.
b 3d \/\ |

Nathan S5AGliron

Executed in Harris County, State of Texas, on "C7
é\

Motion for Extension of Time — Page 4

Case 25-32541 Document 12 Filed in TXSB on 05/23/25 Page 5 of 6

NATHAN J. MILLIRON

May 20, 2025

Via Certified Mail/ Return Receipt Requested
No. 9589 0710 5270 1031 0559 05

Mr. Nathan Ochsner
Clerk of Court

P.O. Box 61010
Houston, Texas 77208

Re: In re: Nathan Joseph Milliton, Debtor; Case No. 25-32541; in the Bankruptcy Coutt
for the Southern District of Texas, Houston Division.

Dear Mr. Ochsner:
Enclosed for filing, please find the following:
(1) Motion for Extension of Time to File List of Creditors, Plan, Schedules and Statements.

If you have any questions or if you need any additional information, please do not hesitate to reach
out.

Cc arm regards,

cc: Mr. David G. Peake Via First Class U.S. Mail and CM/RRR
Chapter 13 Trustee

Office of the United States Trustee Via First Class U.S. Mail and CM/RRR

46 of 6

Filed in TXSB on 05/23/25 Pag

I

—— -dl¥d 39Vv1s0d ‘sn

g0- -ee0osveeeg

96°6$

Ge02 ‘Oe AVN
vOO22Z XL ‘NOLSNOH
HSLL31 WOS

BOCL Laas

S32ABTS Twisod
S3LVLS GIN

B0ZLL S¥Xa], ‘UOIsNOP{
OLOL9 XO" ‘O'd
WNO’) FO YI)
JaUSYIO UryIeN “ITAL

66 Ddu

50 ‘bSS0 TEDL,

Dees “Ote0

uM

bPSb

vLO88 X08 O'd

I. L00-88ZLL Sexd| ‘UO\SNOH
Hold aby pi fanelfvenen IN

tere IS

